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                              IN THE UNITED STATES DISTRICT COURT

                                    FOR THE DISTRICT OF OREGON

                                         PENDLETON DIVISION


       OREGON FIREARMS FEDERATION, INC., et Case No. 2:22-cv-01815-IM (Lead Case)
       al.,                                 Case No. 3:22-cv-01859-IM (Trailing Case)
                                            Case No. 3:22-cv-01862-IM (Trailing Case)
                           Plaintiffs,      Case No. 3:22-cv-01869-IM (Trailing Case)
            v.
       KATE BROWN, et al.,                  CONSOLIDATED CASES
                                                                   AMICUS BRIEF OF
                                    Defendants.                    SPORTSMEN’S AND WOMEN’S
                                                                   COALITION
                                                                   (caption continued on next page)




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       MARK FITZ, et al.,
                                                  Plaintiffs,
                 v.
       ELLEN F. ROSENBLUM, et al.,

                                                  Defendants.

       KATERINA B. EYRE, TIM FREEMAN,
       MAZAMA SPORTING GOODS, NATIONAL
       SHOOTING SPORTS FOUNDATION, and
       OREGON STATE SHOOTING ASSOCIATION,
                                                  Plaintiffs,
                 v.
       ELLEN F. ROSENBLUM, Attorney General of
       Oregon, and TERRI DAVIE, Superintendent of
       the Oregon State Police,
                                                  Defendants.
       DANIEL AZZOPARDI, et al.,
                                                  Plaintiffs,
                 v.

       ELLEN F. ROSENBLUM, et al.,
                                                  Defendants.

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                  Oregon Hunters Association, Congressional Sportsmen’s Foundation, the Rocky Mountain

       Elk Foundation, Sportsmen’s Alliance Foundation, Oregon Wild Sheep Foundation, Safari Club

       International, National Deer Association, Delta Waterfowl, and Ducks Unlimited submit this

       Amicus Brief in support of Plaintiffs’ challenge to Oregon Ballot Measure 114, the “Changes to

       Firearm Ownership and Purchase Requirements Initiative” (“Measure 114”).

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                The above-named organizations comprise the Sportsmen’s and Sportswomen’s Coalition

       (the “Coalition”), with members who represent all genders, ages, orientations, economic statuses,

       and religions, who share a common interest in hunting, fishing, outdoor recreation, and shooting

       sports. These organizations have demonstrated success in wildlife and habitat conservation and

       management of natural resources for current and future generations.

                Measure 114 contains two new restrictions on firearms and firearms accessories. The first

       requires a state permit to purchase any firearm and establishes an arduous permitting process that

       imposes an unconstitutional burden on Second Amendment rights. The second prohibits the

       purchase, sale, and further ownership of magazines capable of holding over ten rounds of

       ammunition, even though these magazines are used in lawful hunting and sport shooting. While

       both provisions severely constrain the ability of Oregon citizens and others to exercise their

       constitutional rights, the Coalition focuses on the permit-to-purchase requirement, as it not only

       infringes on Second Amendment rights, but threatens successful wildlife conservation within the

       State.

                                         INTEREST OF THE AMICI

                The Coalition organizations represent hundreds of thousands of sportsmen and women,

       recreational shooters, and conservationists. These organizations and their members support

       hunting as a wildlife conservation and management tool. They fund and participate in conservation

       projects including habitat improvement, wildlife restoration, and similar efforts in the Oregon.

       Although each organization has its distinct mission, these missions share specific characteristics:

       conservation of wildlife, protection of hunting and sporting activities, and public education

       regarding hunting and its role as a traditional activity and conservation tool. The Coalition contains




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       an Oregon-based organization and national organizations with local members or chapters in

       Oregon. 1

               These pro-hunting and conservation organizations have engaged in litigation and advocacy

       efforts in Oregon to promote hunting and sustainable-use conservation. Specific to Measure 114,

       the Coalition organizations were (and continue to be) members of a coalition which opposed

       passage of Measure 114, for the reasons below (among others). Each of these organizations has

       members and supporters whose interests will be harmed by implementation of Measure 114. As

       hunters and recreational shooters, these individuals purchase, own, and use firearms as a necessary

       element of their activities. Measure 114’s onerous new permit requirement will significantly

       damage their interests because they will no longer be able to obtain firearms for use in lawful,

       regulated hunting. Their hunting tradition and ability to introduce youth and new hunters to this

       tradition will also suffer.

                                                     ARGUMENT

               Measure 114’s provisions unconstitutionally burden protected Second Amendment rights.

       As the Supreme Court recently explained, “[w]hen the Second Amendment’s plain text covers an

       individual’s conduct, the Constitution presumptively protects that conduct. The government must

       then justify its regulation by demonstrating that it is consistent with the Nation’s historical tradition

       of firearm regulation.” N.Y. State Rifle & Pistol Ass’n v. Bruen, 142 S. Ct. 2111, 2129–30 (2022).

               The Second Amendment’s plain text covers the right to keep and bear arms, which

       encompasses the right to own them. E.g., U.S. Const. amend. ii; Parker v. District of Columbia,



       1
         For example, the Rocky Mountain Elk Foundation has 24 chapters and more than 14,000 members
       in Oregon. Safari Club International has two chapters in Oregon. Other organizations have
       thousands of members who are Oregon citizens. And the Congressional Sportsmen’s Foundation
       supports a national caucus of state legislators, which includes representatives from Oregon.

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       478 F.3d 370, 386 (D.C. Cir. 2007) (citing United States v. Emerson, 270 F.3d 203, 231 n.31 (5th

       Cir. 2001)). The State therefore must justify the restrictions as being consistent with historical

       tradition. As Plaintiffs explain, the State has not and cannot justify the measure. Dkt. 84 at 8-14.

       And as explained below, the lack of any justification, historical or practical, becomes even more

       clear in the context of use of firearms for hunting.

           A. Measure 114 Unconstitutionally Restricts the Exercise of Second Amendment Rights
              for Lawful Hunting.

              The Second Amendment includes the right to bear firearms for purposes including “self-

       defense and hunting.” District of Columbia v. Heller, 554 U.S. 570, 599 (2008). States historically

       authorized and continue to authorize the hunting of wildlife using firearms. E.g., R.J. Spitzer, Gun

       Law History in the U.S. & Second Amend. Rights, 80 L. & Contemp. Probs. 55, 60 (2017) (citing

       M. Frassetto, Firearms & Weapons Legislation up to the Early Twentieth Century (Jan. 15, 2013)).

       When the Second Amendment was adopted, firearms were commonly used for hunting. See, e.g.,

       Emerson, 270 F.3d at 251–55. Despite this obvious historical and traditional use, Measure 114

       infringes on the ability of Oregon’s hunters to use their firearms to hunt.

              Measure 114 restricts the right to own firearms—every single type and caliber, for all uses.

       And the restriction is an effective ban because, as explained in Plaintiffs’ brief, the designated

       safety courses are not available, there is no expectation that they will become available any time

       soon, 2 and sheriffs and police officers are already over-burdened with existing responsibilities and

       background checks for firearms purchases. Dkt. 84 at 11-13. Measure 114’s added requirements




       2
        These so-called “firearms safety” courses are required for expert shooters and hunters who have
       years of firearms experience and years of firearms safety and hunter education experience. Such
       an onerous new requirement makes zero sense for reducing gun violence.

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       will make legally obtaining firearms nearly impossible. The State cannot justify an effective ban

       on firearms used for historically authorized purposes, like hunting.

                Practically speaking, the permit restriction on firearm purchases is even more problematic

       because it diminishes the future of lawful hunting. Creating an onerous-for-the-sake-of-onerous

       process for firearm purchases will drive away new hunters and sport shooters. It will also prevent

       young people from engaging in these activities because they cannot obtain the proper tools. Not

       only does Measure 114 bar a historically recognized firearms use, but it also obstructs the ability

       of the next generation to lawfully engage in this use.

                Finally, Measure 114 infringes upon the Second Amendment right to bear arms for those

       who are not deemed fit to do so at the discretion of the permit agent. Measure 114 allows a permit

       agent to deny an application if he or she “conclude[s] that [the applicant] has been or is reasonably

       likely to be a danger to self or others, or to the community at large, as a result of the applicant’s

       mental or psychological state.” Measure 114, § 4(1)(b)(C), (1)(c). This standard does not provide

       clear criteria and gives too much discretion to local sheriffs and other permit agents. Precedent

       exists for concern about the possibility of discrimination against hunters—and many other lawful

       users.

                Laws similar to Measure 114 have been discriminatorily applied in other states. In North

       Carolina, for example, a permit requirement which restricts handgun ownership to those who can

       demonstrate “good cause,” has been applied to prevent Black residents of the state from owning

       firearms. Black North Carolinians to this day are denied access to pistols almost three times more

       frequently than White residents. 3


       3
        E.g., R. Nothstine, Jim Crow Pistol Permit Remains a Shameful Blot on Our State, The
       Carolina Journal (Sept. 29, 2022), available at https://www.carolinajournal.com/opinion/jim-


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                In Oregon, there has been vocal concern that Measure 114 will be applied to prevent certain

       groups or individuals from owning firearms. 4 Measure 114 contains no provision to compel the

       local sheriff or police chief to actually develop a permit system. It is possible that some county or

       city councils will prohibit the issuance of permits or impose other roadblocks, effectively denying

       the issuance of permits within that jurisdiction. While the Coalition’s members engage in a

       traditional activity that provides food for their families (among other benefits), some groups

       oppose lawful hunting on moral grounds because it involves the killing of animals. See, e.g., the

       websites of animal rights groups Friends of Animals 5 and the Humane Society of the United

       States 6 (not to be confused with local humane societies). What if the local government or permit

       agent are morally opposed to lawful hunting, and determine that hunters pose a danger to self or

       others because they are able to take an animal’s life? There is a real risk that Measure 114 will be

       applied against hunters to limit their abilities to obtain firearms, simply because they are hunters.

                For these reasons and the reasons set forth by Plaintiffs, the Coalition requests that the

       Court enjoin and invalidate implementation of Measure 114 under the Second Amendment.




       crow-pistol-permit-remains-a-shameful-blot-on-our-state/; N. Gallo, Misfire: How the North
       Carolina Pistol Purchase Permit System Misses the Mark of Constitutional Muster and
       Effectiveness, 99 N.C. L. Rev. 529 (Jan. 1, 2021), available at
       https://scholarship.law.unc.edu/cgi/viewcontent.cgi?article=6824&context=nclr.
       4
        E.g., D. Speak, Oregon’s LGBTQ Community Worries that a New Law Will Keep Them from
       Obtaining Guns, NPR (Dec. 16, 2022), available at
       https://www.npr.org/2022/12/15/1140713659/oregons-lgbtq-community-worries-that-a-new-law-
       will-keep-them-from-obtaining-gun.
       5
           https://friendsofanimals.org/what-we-believe/.
       6
           https://www.humanesociety.org/all-our-fights/banning-trophy-hunting.

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           B. Measure 114 Harms the Coalition’s Conservation Activities.

              The Coalition includes both Oregon organizations and national organizations with Oregon

       chapters and members. These organizations routinely raise funds to invest in conservation

       programs that benefit residents of the state. For example, one of Safari Club International’s

       Oregon chapters has collaborated with the Cowlitz Tribe to relocate endangered Columbia white-

       tailed deer to more secure habitat. The Chapter is now funding a wildlife detour under a freeway

       in Eastern Oregon, to improve crossings for deer and other animals. The Rocky Mountain Elk

       Foundation along with Oregon Hunters Association provided funding to help purchase over 4,600

       acres for Phase 1 of the Minam River Wildlife Area expansion. The expansion will permanently

       protect habitat along a migration corridor for elk, mule deer, and other wildlife. It will also link

       other protected areas, to expand both wildlife habitat and land for hunting, fishing, hiking, and

       other uses.

              Non-profit organizations like those that comprise the Coalition and their local affiliates

       often obtain donated firearms and auction or raffle these, with the proceeds going to local

       conservation programs. Measure 114 makes firearms transfers prohibitively difficult if not

       impossible. Without the ability to sell firearms at their fundraisers, these organizations will simply

       not raise as much funding for conservation programs.                             For example, the Oregon Hunters

       Association estimates that implementation of Measure 114 will cut their fundraising efforts by

       ~50% if firearms effectively cannot be raffled or auctioned at events. Measure 114 thus will reduce

       local conservation funding and harm effective and proven wildlife and habitat programs.

           C. Measure 114 Increases the Already High Burden on County Sheriffs.

              In Oregon, county sheriffs already bear a heavy law enforcement, civil, and administrative

       burden. They already handle a number of duties related to firearms, including but not limited to,


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      conducting background checks, administering concealed carry licensing, and providing letters

      acknowledging firearm suppressor purchases. The onerous and duplicative background checks

      required by Measure 114, as well as the local permit criteria contemplated by the measure, will

      weigh down local sheriffs’ departments even more. As explained by the Oregon State Sheriffs

      Association (“OSSA”) in opposition to the measure, Measure 114 will require them to create

      entirely new administrative processes under their current budgets—and they already have little

      funding for staffing to develop these processes, which nonsensically overlap with Oregon’s already

      strict background check system. 7

            D. Implementation of Measure 114 Injures State Conservation Programs.

               The additive restrictions in Measure 114 will reduce firearm, firearm accessory, and

      ammunition purchases in Oregon. They are also likely to reduce participation in hunting and

      recreational shooting. These reductions will have deleterious effects on the conservation of

      wildlife and habitat in the State.

               First, Oregon’s hunters and recreational shooters contribute tens of millions of dollars for

      conservation efforts under the Pittman-Robertson Act (the “Act”). The Act imposes an 11% excise

      tax on every purchase of firearms, ammunition, and hunting equipment. Under the Act, the U.S.

      Fish and Wildlife Service (“Service”) distributes excise tax revenues based on a formula using the

      state’s land and water area and the number of paid recreational hunting and fishing license holders



      7
        E.g., Statement of OSSA President Sheriff Nelson (Deschutes County) regarding Measure 114,
      available at https://oregonsheriffs.org/blog/ossa-and-measure-114/ (noting that “Measure 114 will
      require local law enforcement agencies to create and fund a firearm permit process out of local
      budgets. It will move very scarce law enforcement resources away from protecting our
      communities to doing backgrounds and issuing permits … It has been conservatively estimated
      [by OSSA] that this measure will cost local agencies just over $49 million annually, with expected
      permit fees covering only $19 and a half million … [which will] require [local governments] to
      shift [resources] from law enforcement priorities to fund these permit programs.”).

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      in the state. Grant funds are used for projects to restore, conserve, manage, and enhance wild birds

      and mammals and their habitats. In 2022, the Service distributed a record $1.5 billion in Pittman-

      Robertson Act and related funds, including over $26 million in wildlife restoration and hunter

      education grants to the Oregon Department of Fish and Wildlife (“ODFW”). 8 Reducing firearm

      sales and making it more difficult to hunt (thus potentially cutting license sales) will decrease this

      critical funding for the ODFW and harm Oregon’s wildlife, habitat, and conservation efforts

      because the Department will have fewer resources to invest.

             Fewer hunters will also negatively impact ODFW’s wildlife management efforts. In

      addition to the direct reduction of funds available to ODFW for wildlife management programs

      caused by a reduction in hunting licenses sold, hunting is used in Oregon (and around the U.S.) as

      a cost-effective and necessary wildlife management tool. For abundant or increasing populations

      of many species, such as deer and black bear, hunting is the only practical or available tool for

      managing population numbers. Forcing a decline in hunter participation will reduce ODFW’s

      ability to rely on hunters to manage wildlife populations, thus requiring greater direct management

      and expenditure of resources by ODFW.




      8
        U.S. Dep’t of the Interior, Press Release, Interior Department Announces Over $1.5 Billion to
      Support State Wildlife Conservation and Outdoor Recreation (Feb. 11, 2022), available at
      https://www.doi.gov/pressreleases/interior-department-announces-over-15-billion-support-state-
      wildlife-conservation-and; additional information on state grants available at
      https://partnerwithapayer.org/funding-sources/; see also Pittman-Robertson Act, 16 U.S.C. § 669
      et seq.; 26 U.S.C. §§ 4161(b) & 4181; Sierra Club v. U.S. Fish & Wildlife Serv., 189 F. Supp. 2d
      684, 691 (W.D. Mich. 2002).

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                                                CONCLUSION

             For these reasons, the Coalition respectfully requests that this Court grant Plaintiffs’ relief

      and hold that Measure 114 violates the Second Amendment to the U.S. Constitution and declare

      that Measure 114 is invalid and unenforceable.

                    Respectfully Submitted,

                    DATED this 11th day of January 2023.

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                                             CERTIFICATE OF SERVICE

                In accordance with Fed. R. Civ. P. 5(b)(2)(E) and LR5-1, I hereby certify that on January 11,

       2023, I electronically filed the foregoing with the Clerk of Court using the CM/ECF system, which will

       send a notification of such filing to all counsel of record.


                        DATED this 11th day of January 2023.


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